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                    SC NAACP v. Alexander,
            Case No. 3:21-cv-03302-MGL-TJH-RMG




                  EXHIBIT D




     PORTIONS OF THIS EXHIBIT HAVE BEEN
   SUBMITTED TO THE COURT FOR IN CAMERA
      REVIEW PURUSANT TO THE CONSENT
     CONFIDENTIALITY ORDER (ECF NO. 123)
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                                                                  Page 225

 1                        UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
 2                              COLUMBIA DIVISION
 3
           THE SOUTH CAROLINA STATE CONFERENCE OF
 4         THE NAACP, et al.,
 5                     Plaintiffs,
 6         vs.                   CASE NO. 3:21-cv-03302-MBS
                                          TJH-RMG
 7
           THOMAS C. ALEXANDER, et al.,
 8
                          Defendant.
 9
10         VTC
           DEPOSITION OF:      WALLACE HERBERT JORDAN, JR.
11                             VOLUME II - Pages 225 through 444
                               (Appearing by VTC)
12
           DATE:               July 21, 2022
13
           TIME:               10:03 a.m.
14
           LOCATION:           Nexsen Pruet Law Firm
15                             1230 Main Street, 7th Floor
16         TAKEN BY:           Counsel for the Plaintiffs
17         REPORTED BY:        Susan M. Valsecchi, CRR
                               Registered Professional Reporter
18                             (Appearing by VTC)
19
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                                                                     Page 375

 1         therefore, you know, not be something that South
 2         Carolinians as a whole can be proud of.
 3                  Q.   And in order to ensure a map is not
 4         racially biased, who did you rely on to make that
 5         determination?
 6                  A.   I mean, again, I think you bring your
 7         own set of knowledge and understanding to the table
 8         and then you rely on other members of your team,
 9         members of the Ad Hoc Committee.                  I mean, you know,
10         everyone's participation in this process is
11         important.
12                  Q.   I know we talked earlier about partisan
13         considerations.       Was maintaining a 6:1 Republican
14         advantage in congress at all a criteria factor for
15         the Ad Hoc Committee in creation of this map?
16                  A.   No.
17                  Q.   What about the term "core retention"?
18                  A.   I would put core retention, you know,
19         with some of the other technical terminology we've
20         used today; I have a layman's opinion of it but I'm
21         not a technical expert.
22                  Q.   Is the term core retention mentioned at
23         all in the redistricting criteria?
24                  A.   I don't believe so.
25                  Q.   I think you mentioned Ms. Dean would

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 1         trying to answer the question to the best of my
 2         ability.      And I guess I carried some of my previous
 3         knowledge through the committee process,
 4         specifically with Representative Bernstein's
 5         questions, that I gave that answer.
 6                  Q.     But I guess, as even just a step back,
 7         why was it important for you to emphasize that
 8         partisan groups were not involved in the drafting?
 9                  A.     I guess because the question had come
10         up a couple times and therefore I felt like it
11         was -- needed to be part of the answer.
12                  Q.     And why do you think it was beneficial
13         to not have partisan groups involved in the
14         drafting of the plan?
15                  A.     To me, it's always made more sense, you
16         know, as members of the General Assembly, we are
17         tasked with the responsibility of completing
18         redistricting.
19                         Now, certainly we'll take input, as we
20         did in this process, through various organizations,
21         but ultimately the responsibility falls to the
22         General Assembly.
23                         And it's not a partisan task; it's
24         a statewide process, that we didn't necessarily
25         need any help from a partisan group.

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